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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

     UNITED STATES OF AMERICA

     v.                   Case No. 8:11 -cr-323-T-17TBM

     RETSIDISTSWE GRIFFITH

                     FORFEITURE MONEY JUDGMENT AND
            PRELIMINARY ORDER OF FORFEITURE FOR DIRECT ASSETS                           .
            -------------------------------------------------------------------------- CDKl
           THIS CAUSE comes before the Court upon the United States' Motion for:

            (1)    A Forfeiture Money Judgment in the amount of $274,400.00; and

            (2)    A Preliminary Order of Forfeiture for the following direct assets:

                   a.     A 2010 Black Land Rover, Range Rover Sport, Vehicle
                          Identification Number SALSK2D48AA249887; and

                   b.     The defendant’s DEA Registration Number FR1263134: R &
                          Griffiths Enterprise, DBA: New Tampa Pharmacy.

            Being fully advised of the relevant facts, the Court hereby finds that

     $274,400.00 was obtained from the drug trafficking conspiracy to which the

     defendant pled guilty.

           The Court further finds that the Land Rover and the defendant’s DEA

     registration represent proceeds of, and facilitated, the drug trafficking conspiracy.

           Accordingly, it is hereby:

            ORDERED, ADJUDGED, and DECREED that for good cause shown, the

     United States’ motion is GRANTED.
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             It is FURTHER ORDERED that, pursuant to 21 U.S.C. § 853 and Rule

      32.2(b)(2), the defendant shall be held liable for a forfeiture money judgment in the

      amount of $274,400.00.

             It is FURTHER ORDERED that, pursuant to 21 U.S.C. § 853 and Rule

      32.2(b)(2), the direct assets identified above are hereby forfeited to the United

      States for disposition according to law

             It is FURTHER ORDERED that, upon entry of this order, it shall become a

      final order of forfeiture as to the defendant.

             The Court retains jurisdiction to address any third party claim that may be

      asserted in these proceedings, to enter any further order necessary for the

      forfeiture and disposition of such property, and to order any substitute asset

      forfeited to the United States up to the amount of the forfeiture money judgment.




      Copies to:
      Natalie Hirt Adams, AUSA
      Counsel of Record




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